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 VIA ECF

 April 11, 2023

 The Honorable LaShann DeArcy Hall
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

            Re: United States v. Yanbin Chen
                Docket No. 22-CR-00458-004

 Dear Judge DeArcy Hall:

            Please note that I continue to represent Mr. Yanbin Chen in the
 above referenced matter. Due to illness I am unable to attend today’s
 status conference at 1:00 p.m.                              I have spoken to co-counsel and Mr.
 Angelo MacDonald has agreed to stand in for me for me, provided that
 your Honor approves.                     I have informed my client and the government
 regarding my absence from today’s proceedings.                                  Thank you.

 Respectfully,
 Charles Alvarez
 CHARLES ALVAREZ, ESQ.



 Cc:        All counsel of record (via ECF)




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